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IN THE UNITED srArEs DrsrRic'r coURr ~--~__*o.c,

FoR THE WEsTERN DISTRICT oF TENNEssEE 05 JUL 22 PH
EASTERN DIVISION 2" 32

LARRY sTEvE MELToN, LARRY s. MELToN Ct£n?" y imer

R & J of TENNESSEE, INC., v;@@;;§p mMC/SON HT
Plaintiffs,

v. No. 02-1152-B/P

BANK OF LEXINGTON branch of the
BANK OF FRIENDSHIP, et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff Larry S. Melton’s Motion for the Regional Director of the
Federal Deposit Insurance Corporation to Show Cause and Alternative Motion to Compel the
Bank of Lexington to Produce Bank Examines filed on July 20, 2005. This motion is referred
to the United States Magistrate Judge for determinationl Any objections to the magistrate
judge’s order shall be made within ten (10) days after service of the order, setting forth
particularly those portions of the order objected to and the reasons for the objectionsl Failure
to timely assign as error a defect in the magistrate judge’s order will constitute a Waiver of that
objection. § Rule 72(a), Federal Rules of Civil Procedure.

rr Is so oRl)ERED this 1 day of July, 2005.

{

J. DANIEL BREEN \
UéIIBl) sTATEs DISTRICT JUDGE

 

 

Th|s document entered on the docket sheet ln compliance

with mile se and,-'or_?s (a) FRoP on 5 /,,D\

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 631 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

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Honorable J. Breen
US DISTRICT COURT

